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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF MARYLAND
                                       at Baltimore
                               In re:    Case No.: 22−13686 − NVA          Chapter: 13

Wayne G. Chapin
Debtor

                                 NOTICE OF NON−COMPLIANCE
                              AND OF POSSIBLE DISMISSAL OF CASE


WARNING − The Trustee in your case has notified the Court that the debtor has not provided:

          A copy of the Federal income tax return to the trustee pursuant to § 521(e)(2)(A) of Title 11 U.S.C.

Accordingly, you have 14 days from the date of this notice to respond before the Court makes a decision on the
dismissal of this case.

Do not file copies of payment advices or Federal income tax returns with the Court. Payment advices and tax
returns are to be provided to the trustee.

Dated: 9/2/22
                                                           Mark A. Neal, Clerk of Court
                                                           by Deputy Clerk, Kizzy Fraser
                                                           410−962−4277



cc:   Debtor
      Attorney for Debtor − Lawrence F. Regan Jr.
      Case Trustee − Rebecca A. Herr
      All Creditors

Form trnoncmp
